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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA                )
                                        )
             v.                         )        2:24-cr-000126-JAW-1
                                        )
IAN RENAUD                              )

                       ORDER ON MOTION TO DISMISS

      A defendant charged with possession of a firearm by a prohibited person

pursuant to 18 U.S.C. § 922(g)(9) moves to dismiss his indictment on the ground that

the statute is unconstitutional as applied to him by violating his Second Amendment

right to bear arms.

      Objecting on the ground of relevance, the defendant protests the court’s

consideration of extrinsic evidence attached to the federal government’s response to

his motion to dismiss.    The court overrules the objection, concluding as-applied

challenges require reliance on a factual record and the submitted exhibits are

relevant to consequential facts.

      On the motion to dismiss, the Court of Appeals for the First Circuit, the circuit

court to which this district court bears allegiance, has authoritatively ruled that §

922(g)(9) is constitutional, and the court is bound under the doctrine of stare decisis

to apply its teaching. In excess of caution, as this area of law is in flux, the court

examined the issue to determine whether First Circuit precedent has been cast into

disrepute by supervening authority. Based on its analysis of intervening caselaw and

the history and tradition of gun regulation in this country, the court concludes that
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the law supports restrictions on gun ownership for those who pose a threat to the

safety of others and that the government has established a present threat posed by

the defendant. The court denies the defendant’s motion.

I.    BACKGROUND

      On October 15, 2024, the United States (the Government) filed a criminal

complaint in this Court against Ian Renaud, alleging Mr. Renaud knowingly

possessed multiple firearms despite a prior conviction of misdemeanor domestic

violence in violation of 18 U.S.C. § 922(g)(9). Crim. Compl. (ECF No. 1). Mr. Renaud

was arrested that same day. Min. Entry (ECF No. 5). On November 6, 2024, a federal

grand jury charged Mr. Renaud in a one-count indictment as being a felon in

possession of a firearm in violation of § 922(g)(9). Indictment (ECF No. 15).

      On December 16, 2024, Mr. Renaud moved the Court to dismiss the indictment,

asserting § 922(g)(9) as applied to him violates the Second Amendment to the United

States Constitution. Mot. to Dismiss (ECF No. 33) (Def.’s Mot.). The Government

responded in opposition on February 12, 2025. Gov’t’s Resp. in Opp’n to Def.’s Mot. to

Dismiss (ECF No. 44) (Gov’t’s Opp’n). On March 12, 2025, Mr. Renaud replied. Def.’s

Reply to Gov’t’s Opp’n to Def.’s Mot. to Dismiss (ECF No. 47) (Def.’s Reply).

      On March 25, 2025, the Court held a telephone conference with counsel, during

which it discussed the admissibility, at the motion to dismiss stage, of extrinsic

evidence attached to the Government’s opposition; the Court ordered Defendant’s

counsel to submit a written position on the extrinsic evidence by April 1, 2025, and

the Government to respond within a week thereafter. Min. Entry (ECF No. 50). On



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April 1, 2025, the Defendant objected to five of the six pieces of extrinsic evidence

submitted by the Government based on Federal Rule of Criminal Procedure 12 and

on relevancy grounds. Def.’s Obj. to Attached Exs. To Gov’t’s Resp. in Opp’n to Def.’s

Mot. to Dismiss (ECF No. 51) (Def.’s Evid. Obj.). After requesting and being granted

an extension, Unopposed Mot. for Extension of Time to File Reply to Mot. to Dismiss

(ECF No. 52); Order (ECF No. 53), the Government responded on April 15, 2025,

asserting it should be permitted to make a factual record in response to the

Defendant’s motion to dismiss. Gov’t’s Resp. to Def.’s Obj. to Attached Exs. to Gov’t’s

Resp. in Opp’n to Def.’s Mot. to Dismiss (ECF No. 55) (Gov’t’s Evid. Resp.).

II.   THE SCOPE OF THE RECORD

      A.     The Parties’ Positions

             1.     Ian Renaud’s Objection

      Mr. Renaud objects to the Court’s consideration of the following exhibits

attached to the Government’s opposition: “Gov’t Exh. 1: Kittery PD Arrest Report”;

“Gov’t Exh. 3: Kittery PD Arrest Report”; “Gov’t Exh. 4: Criminal History”; “Gov’t

Exh. 5: Kittery PD Arrest Report”; and “Gov’t Exh. 6: MA Criminal Complaint.”

Def.’s Evid. Obj. at 1. He does not, however, object to the Court’s consideration of the

second exhibit to the Government’s opposition: “State of Maine v. Ian Renaud, Docket

No. YRKCD-CR-2018-40839.” Id.

      In support, Mr. Renaud contends the Court’s reliance on exhibits contravenes

Federal Rule of Criminal Procedure 12 and argues, further, “information pertaining

to past charged or dismissed conduct, prior non-disqualifying convictions, and the

specific facts underlying Mr. Renaud’s conviction for a misdemeanor crime of

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domestic violence” are irrelevant to his current charge.       Id. at 2.    Mr. Renaud

continues that “the only factors relevant” for the purposes of the pending motion to

dismiss “are the elements of the statute of conviction, the fact of Mr. Renaud’s

conviction for a misdemeanor crime of domestic violence, and date and duration of his

sentence.” Id. (citing United States v. Giglio, 126 F.4th 1039, 1046 (5th Cir. 2025) (in

turn citing United States v. Diaz, 116 F. 4th 458, 467 (5th Cir. 2024))).

             2.     The Government’s Response

      The Government responds that it should be permitted to develop a factual

record in response to the Defendant’s as-applied challenge. Gov’t’s Evid. Resp. at 1.

Under First Circuit caselaw, the Government argues, as-applied challenges

“necessarily require[] a concrete and developed factual record for the court to

consider.” Id. at 2 (quoting United States v. Andujar-Arias, 507 F.3d 734, 747 (1st

Cir. 2007), abrogated on other grounds by United States v. Rodriguez, 527 F.3d 221

(1st Cir. 2008) (citation amended)). Here, the Government submits, “Defendant’s

argument hinges on the factual question of whether he posed a credible threat of

physical violence to others at the time of the charged offense,” and the Court should

allow the Government to rebut Mr. Renaud’s factual assertions with evidence of the

danger he poses. Id. at 3.

      The Government contends Mr. Renaud presented two factual bases for his

position that he posed no threat at the time of the charged offense: “(1) Defendant

completed a certified batterers intervention program and state probation program in

2021; (2) there is no evidence that Defendant posed a credible threat of violence to

the physical safety of another at the time of the offense set forth in the present
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Indictment.” Id. at 4 (citing Def.’s Mot. at 7). The Government submits its attached

exhibits “show Defendant’s history of domestic violence, the facts underlying the

predicate offense, and are relevant to determining the danger he posed at the time of

the charged offense.” Id.

      The Government continues to dispute Mr. Renaud’s characterization of Fifth

Circuit caselaw, pointing out that in United States v. Giglio, 126 F.4th 1039, the Fifth

Circuit only stated it “need not look beyond” the predicate conviction to affirm the

constitutionality of the restriction on firearms in that case. Id. at 4-5 (quoting Giglio,

126 F.4th at 1046). Furthermore, the Government avers, in United States v. Diaz,

116 F.4th 458, the Fifth Circuit “did not clearly hold that courts are always forbidden

from considering evidence beyond the predicate convictions in analyzing as applied

challenges,” id. at 6 (quoting Diaz, 116 F.4th at 467) (the Government’s emphasis),

but was “simply setting forth what convictions could be considered ‘predicate

convictions’” in the context of analyzing the tradition of disarmament based on

criminal history. Id. at 5-6 (quoting Diaz, 116 F.4th at 467). The Government further

distinguishes Diaz as being argued as a post-conviction appeal, and thus inapposite

to the “extraordinary step” of dismissing an indictment. Id. at 6 (citing, e.g., United

States v. Barnard, 704 F. Supp. 3d 259, 265 (D. Me. 2023); Whitehouse v. United

States Dist. Ct., 53 F.3d 1349, 1360 (1st Cir. 1995)).

      At bottom, the Government argues the Court is empowered to consider

extrinsic evidence on a motion to dismiss and, further, that Mr. Renaud’s as-applied

challenge necessitates examination of a fully developed factual record. Id. at 6-8.



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      B.      Legal Standard for Consideration of Evidence on Motion to
              Dismiss Criminal Complaint

      Federal Rule of Criminal Procedure 12 provides: “[a] party may raise by

pretrial motion any defense, objection, or request that the court can determine

without a trial on the merits.” FED. R. CRIM. P. 12(b)(1).

      Reviewing an as-applied challenge, the First Circuit has held that “plaintiffs

remain free to challenge the [statute], as applied, in a concrete factual setting.”

McGuire v. Reilly, 260 F.3d 36, 47-48 (1st Cir. 2001). In the criminal context, the

First Circuit has further held that a party “must provide a factual basis for its

argument” and that “[t]his obligation is most significant when the party has raised

an as-applied challenge, which necessarily requires a concrete and developed factual

record for the court to consider.” Andujar-Arias, 507 F.3d at 747 (collecting cases).

      C.      Discussion

      The Government attached six exhibits to its response to Mr. Renaud’s motion

to dismiss; Mr. Renaud objected to five of them:

      1) Government’s Exhibit 1 is an eight-page police report from the Kittery

           Police Department from an incident on August 24, 2018, which led to Mr.

           Renaud’s domestic violence misdemeanor conviction. That misdemeanor

           conviction is the predicate conviction underlying the current federal charge.

      2) Government’s Exhibit 2 (to which Mr. Renaud does not object) is the state

           domestic violence complaint dated September 11, 2018, charging Mr.

           Renaud with domestic violence assault, Class D, arising out of an incident

           occurring on August 24, 2018, and the docket entries confirming that Mr.


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        Renaud pleaded guilty to the domestic violence charge on May 20, 2019 and

        received a sentence of 364 days of incarceration and two years of probation.

        The docket also confirms that one of the conditions of Mr. Renaud’s

        probation was that he not own or possess a firearm or dangerous weapon.

        Government’s Exhibit 2 also confirms that Mr. Renaud violated the

        conditions of his probation and that his probation was revoked on July 9,

        2019, leading to a revocation sentence on August 21, 2019 of eight days in

        jail and continued probation with the firearms prohibition. Government’s

        Exhibit 2 further demonstrates that Mr. Renaud again violated the

        conditions of his probation, and the state of Maine moved to revoke his

        probation on November 6, 2019.        On January 14, 2020, Mr. Renaud

        admitted this second violation, and he was ordered to serve three months

        of incarceration with ongoing probation to continue, including the weapons

        prohibition.

     3) Government’s Exhibit 3 is an arrest report from the Kittery Police

        Department dated May 11, 2014, modified on May 14, 2014, and approved

        May 16, 2014, involving another domestic violence incident relating to Mr.

        Renaud.

     4) Government’s Exhibit 4 is Mr. Renaud’s criminal history printed on

        September 24, 2024, setting forth his prior convictions from an operating

        under the influence charge dated July 5, 2008 through a violation of

        protective order charge dated November 3, 2019. It also contains other



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          activity between Mr. Renaud and the Kittery Police Department not

          resulting in convictions.

      5) Government’s Exhibit 5 is a nine-page police report from the Kittery Police

          Department dated November 4, 2019, modified that same day, and

          approved on November 5, 2019, discussing an incident on November 3, 2019

          which led to charges for violation of a protective order and operating under

          the influence.   Government’s Exhibit 4 confirms that Mr. Renaud was

          charged with these crimes, and, on June 29, 2020, was found guilty of them.

          It also establishes that he was sentenced to 100 days in jail for the violation

          of protective order and ninety-six hours for the operating under the

          influence charge.

      6) Government’s Exhibit 6 is a criminal complaint dated November 24, 2003

          from Fall River, Massachusetts, arising out of an incident of November 23,

          2003 in which Fall River police responded to the possible violation of a

          protective order involving Mr. Renaud. The narrative asserts that Mr.

          Renaud threatened to harm two individuals and that he was charged with

          two counts of threat to commit a crime and one count of the violation of an

          abuse prevention order.

      Significantly, Mr. Renaud has not challenged five of these six exhibits on any

ground other than relevance. There is a body of First Circuit law that limits a district

court’s consideration of “arrests, police reports, and warrants despite the fact that no

conviction had resulted.” United States v. Mendes, 107 F.4th 22, 31 (1st Cir. 2024)



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(citing United States v. Marrero-Pérez, 914 F.3d 20, 22 (1st Cir. 2019)). Here, the

police reports in Government Exhibits 1 and 5 are police reports of incidents that,

respectively, later led to Mr. Renaud’s convictions. For these exhibits, therefore, the

police reports are “buttressed by convictions” and therefore are properly considered

by this Court under Marrero-Pérez. 1 United States v. Ayala-Landor, 994 F.3d 73, 76

(1st Cir. 2021) (“Here, the sentencing judge considered a conviction, not a bare arrest

record — the Marrero line of cases is inapposite”).

       Government Exhibit 4, Mr. Renaud’s criminal history, appears to be what it

purports to be, and Mr. Renaud has not challenged the exhibit on authenticity or

accuracy grounds. Even so, in accordance with the First Circuit’s directive, the Court

considers Government Exhibit 4 only for its recitation of prior convictions and does

not consider its list of arrests that have not led to convictions. Mendes, 107 F.4th at

31 (noting that a sentencing court commits error when considering arrests even

though no conviction had resulted).

       Government Exhibits 3 and 6 are reports of police investigations involving,

respectively, potential violations of a protective order in Massachusetts in 2003 and

a domestic violence issue in Maine in 2014. There is no evidence that these incidents

resulted in criminal charges or convictions. Nevertheless, despite Marrero-Pérez, the

Court has considered the contents of those police reports to determine whether §


1       That the police report formed the basis of a later conviction does not mean that everything in
the report, even matters unrelated to the conviction, is properly considered by a court. Marrero-Pérez,
914 F.3d at 24 (a court may not rely on an arrest report, “without some greater indicia of reliability
that the conduct underlying the arrest took place”) (emphasis supplied by the Court). Here, however,
the police reports contain information consistent with Mr. Renaud’s later convictions and, to the extent
they contain extraneous information, the Court has not considered it.


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922(g)(9) is constitutional as applied to him. This conclusion is based on the Court’s

understanding of the way Rule 12 works. Rule 12 provides that “[a] party may raise

by pretrial motion any defense, objection, or request that the court can determine

without a trial on the general issue.” FED. R. CRIM. P. 12(b)(1); see United States v.

Bulger, 816 F.3d 137, 147 (1st Cir. 2016). Here, whether Mr. Renaud posed an

ongoing threat to the safety of others justifying prosecution for his possession of a

firearm is not something the jury would consider if the case went to trial. To prove a

defendant charged under 18 U.S.C. § 922(g) is guilty as charged, the Government

must prove beyond a reasonable doubt that the defendant knew that he possessed a

firearm and that he belonged to the relevant category of persons barred from

possessing a firearm. United States v. Minor, No. 2:17-cr-00021-JDL-1, 2024 U.S.

Dist. LEXIS 40665, at *2-3 (D. Me. Mar. 8, 2024).

      A trial court may consider and resolve fact questions when ruling on pretrial

motions so long as the facts are not matters that must constitutionally be decided by

a jury. 1A CHARLES ALAN WRIGHT & ANDREW D. LEIPOLD, FEDERAL PRACTICE AND

PROCEDURE, § 195 (2020 ed.) (WRIGHT & LEIPOLD); Bulger, 816 F.3d at 147. Here, if

Mr. Renaud wished to challenge the authenticity and accuracy of Government

Exhibits 3 and 6, he could have done so, and the Court would have held a hearing

and put the Government to its proof. WRIGHT & LEIPOLD, § 195 (“[A] court in its

discretion may conduct a hearing before making its ruling”). However, a defendant

has the right to pick his fights and not to contest the accuracy of proffered exhibits to

focus on those matters he deems significant and controverted.



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      Here, as earlier noted, Mr. Renaud bases his objection to the Government’s

attached exhibits “pursuant to Rule 12” and “on the basis of relevancy.” Def.’s Evid.

Obj. at 2. The Government counters this position by noting Mr. Renaud brings an as-

applied challenge, specifically arguing he poses no ongoing threat to the safety of

others, and as such the Court requires a factual record to evaluate the merits of his

position. Gov’t’s Evid. Resp. at 3-4. Taking each of the Defendant’s grounds for

exclusion in turn, the Court concludes Mr. Renaud has failed to establish a basis for

the Court to decline to consider the Government’s exhibits.

      First, Mr. Renaud “objects to the Court’s reliance on the above attached

exhibits pursuant to Rule 12.” Def.’s Evid. Obj. at 2. However, he offers neither a

subpart of Rule 12 nor any caselaw, from this Circuit or others, supporting his claim

that a court may not consider extrinsic evidence on a motion brought pursuant to

Rule 12. In contrast, the Government directs the Court to unequivocal caselaw from

the First Circuit holding that, in deciding an as-applied challenge, a court must

necessarily rely on a “concrete and developed factual record.” Andujar-Arias, 507

F.3d at 747. In light of this clear directive, and without being given any basis to

conclude otherwise, the Court concludes it is not prohibited from considering extrinsic

evidence in resolving an as-applied challenge brought pursuant to Rule 12.

      Second, Mr. Renaud objects to five of the six exhibits submitted by the

Government on relevancy grounds.        Pursuant to Federal Rule of Evidence 401,

“[e]vidence is relevant if: (a) it has any tendency to make a fact more or less probable

than it would be without the evidence; and (b) the fact is of consequence in



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determining the action.” FED. R. EVID. 401. The Government contends that Mr.

Renaud’s motion to dismiss argues, in essence, that § 922(g)(9) is unconstitutional as

applied to himself because he “no longer posed a credible threat of violence to the

physical safety of another at the time of the offense set forth in the present

Indictment.” Gov’t’s Evid. Resp. at 4. Notably, as in Burger, ‘it was [the Defendant]

who put the issue into play” by raising this defense at the pretrial stage. See Burger,

816 F.3d at 147.

       The Court concludes the Government’s proffered evidence of police reports,

criminal history, and a state criminal complaint are relevant within the meaning of

Rule 401. Based on Mr. Renaud’s asserted defense, the fact in dispute is whether he

posed a credible threat to the safety of another person at the time of the offense

charged. Evidence of his conduct in his domestic relationships, as contained in the

Government’s exhibits, tends to make this fact more probable.

       The Court concludes the Government’s exhibits, as attached to its opposition

to Mr. Renaud’s motion to dismiss, are relevant and admissible, and thus overrules

Mr. Renaud’s objection to considering such evidence.

III.   THE MOTION TO DISMISS

       A.    The Parties’ Positions

             1.     Ian Renaud’s Motion to Dismiss

       Mr. Renaud quotes the Second Amendment to the United States Constitution

as protecting “the right of the people to keep and bear Arms,” Def.’s Mot. at 2 (quoting

U.S. CONST. amend II), and explains that in District of Columbia v. Heller, 554 U.S.



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570 (2008), the United States Supreme Court ruled that this right is guaranteed to

all citizens regardless of militia service. Id. (citing Heller, 554 U.S. at 592). In

subsequent cases, Mr. Renaud says, the Supreme Court clarified that the right to

bear arms is not unqualified, id. (citing McDonald v. City of Chicago, 561 U.S. 742,

786 (2010)), and outlined a framework for determining the lawful bounds of

restrictions on gun ownership in New York State Rifle & Pistol Association v. Bruen,

587 U.S. 1 (2022). Id. (citing Bruen, 587 U.S. at 17 (citation amended)). In Bruen,

Mr. Renaud submits, the Supreme Court did away with the former “means-end

scrutiny” applied to challenges to gun regulation and implemented a standard under

which the government must demonstrate the restriction on gun ownership “is

consistent with this Nation’s historical tradition of firearm regulation.” Id. at 2-3

(quoting Bruen, 597 U.S. at 17). He notes the Supreme Court explained in Bruen that

the historical tradition test “is pegged to the public understanding of the right when

the Bill of Rights was adopted in 1791.” Id. at 3 (quoting Bruen, 587 U.S. at 37).

      Applying this standard to his case, Mr. Renaud argues the Second Amendment

protects his right to possess a firearm and there is no historical tradition of

permanently dispossessing individuals convicted of misdemeanor domestic violence

offenses of firearms. Id. Accordingly, Mr. Renaud maintains that his indictment

must be dismissed as unconstitutional. Id. Elaborating on his arguments, Mr.

Renaud first submits that the text of the Second Amendment plainly covers the

possession of a firearm, the same conduct that § 922(g)(9) criminalizes. Id. He

continues that he is one of “the people” presumptively protected by the Second



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Amendment, despite his misdemeanor conviction. Id. at 4 (citing, inter alia, Heller,

554 U.S. at 581; Bruen, 597 U.S. at 23-24 (citation amended); United States v. Rahimi,

602 U.S. 680, 701 (2024) (citation amended)).

      Next, Mr. Renaud proffers that § 922(g)(9), as applied to him, is inconsistent

with the historical tradition of domestic firearm regulation. Id. He emphasizes the

Government bears the burden of showing the statute “is consistent with the Nation’s

historical tradition of firearm regulation,” id. at 5 (citing Bruen, 597 U.S. at 17), and

argues the Government cannot meet its burden in his case. Id. Mr. Renaud directs

the Court to United States v. Rahimi, 602 U.S. 680, as an informative application of

the historical tradition test, and submits “the appropriate analysis involves

considering whether the challenged regulation is consistent with the principles that

underpin our regulatory tradition.” Id. (quoting Rahimi, 602 U.S. at 692 (citation

amended)). Conceding the Supreme Court recognized the law is not “trapped in

amber,” id. (quoting Rahimi, 602 U.S. at 691 (citation amended)), Mr. Renaud

contends “the inquiry turns upon ‘how’ and ‘why’ historical regulations burdened the

Second Amendment right.” Id. (citing Bruen, 597 U.S. at 28-29 (citation amended)).

      Mr. Renaud distinguishes his case from Rahimi on the basis that Rahimi dealt

with a challenge to § 922(g)(8), which prohibits possession of firearms by individuals

currently subject to domestic violence restraining orders, and the Supreme Court

identified a historical principle of disarming individuals who pose a clear threat of

physical violence to another on a temporary basis. Id. at 5-6 (citing Rahimi, 602 U.S.

at 698 (citation amended)). He argues “the scope of § 922(g)(9) substantially exceeds



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that principle” by permanently banning possession of firearms by domestic-violence

misdemeanants “even if any credible threat of physical violence has long since

passed.” Id. at 6. Mr. Renaud thus characterizes § 922(g)(9) as a “lifetime ban for

anyone convicted at any time of a misdemeanor crime of domestic violence.” Id. at 7

(citing United States v. McGinnis, 956 F.3d 747, 758 n.6 (5th Cir. 2020)).

       Mr. Renaud avers he “successfully completed a certified batterers intervention

program and state probation in September 2021” and “has had no further contact

with the justice system since that time.” Id. (citing Pretrial Servs. Rep. – 1st Add.

12/03/2024 (ECF No. 24)). Thus, he insists, “[a]t the time of the current offense,

there is no evidence that [he] posed a credible threat of violence to the physical safety

of another.” Id. Mr. Renaud argues that, without such a showing, there is no

historical tradition of prohibiting firearm possession, such that § 922(g)(9) is

unconstitutional as applied to him and his indictment must be dismissed. Id. at 7-8.

              2.     The Government’s Response

       The Government opposes Mr. Renaud’s motion to dismiss, first recounting the

factual basis for Mr. Renaud’s misdemeanor conviction of domestic violence for

“shov[ing] [his wife] repeatedly in the chest with both hands, causing her to go

backwards and hit the kitchen counter” on August 24, 2018. Gov’t’s Opp’n at 1-2

(citing id., Attach 1., Arrest Rep. (Gov’t’s Ex. 1); id., Attach 2., Compl. (Gov’t’s Ex. 2)).

The Government also points out Mr. Renaud’s 2014 conviction for domestic violence

criminal threatening and criminal restraint, id. at 2 (citing id., Attach. 3, Arrest Rep.

(Gov’t’s Ex. 3); id., Attach. 4, Crim. Hist. Rep. (Gov’t’s Ex. 4)), and 2019 conviction for



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violating the protective order imposed as a result of his misdemeanor domestic

violence conviction. Id. (citing id., Attach. 5, Arrest Rep. (Gov’t’s Ex. 5.); Gov’t’s Ex. 4

at 1).    The Government reports that the factual events leading to the criminal

restraint conviction occurred on May 10, 2014, when Mr. Renaud “trapped [K.R.] in

their bedroom and held a mallet with spikes over her head,” causing her to “th[ink]

he was going to strike and kill her with the mallet, but he brought it down on the

dresser next to her.” Id. (citing Gov’t’s Ex. 3). Further, the Government says Mr.

Renaud has a history of violating protective orders imposed as a consequence of such

instances of domestic violence. Id. at 2-3 (citing Gov’t’s Ex. 3).

         Turning to the legislative context of § 922(g)(9), the Government explains

Congress promulgated the statute because it “recognized a problem of significant

national concern in the combination of domestic violence and guns, and saw the

existing law as insufficiently protective of its victims.” Id. at 4-5 (citing United States

v. Booker, 644 F.3d 12, 15 (1st Cir. 2011) (in turn citing 142 CONG. REC. S8831 (daily

ed. July 25, 1996) (statement of Sen. Lautenberg) (Lautenberg Statement)). While

prior federal laws only prohibited possession of firearms by convicted felons, id. at 5

(citing Booker, 644 F.3d at 15 (in turn citing United States v. Hartsock, 347 F.3d 1, 5

(1st Cir. 2003))), Congress identified a gap in the law for domestic abusers convicted

of lesser crimes due to plea bargaining, outdated laws, and lack of cooperation by

victims, and thus enacted § 922(g)(9) to “close this dangerous loophole.” Id. (citing

Booker, 644 F. 3d at 16 (in turn citing 142 CONG. REC. S10379 (daily ed. Sept. 12,

1996) (statement of Sen. Feinstein) (Feinstein Statement); Lautenberg Statement)).



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The Government argues these reasons remain persuasive today, pointing out that

“[t]he presence of a gun in a household with a domestic abuser increases the risk of

homicide fivefold” and “domestic assaults with guns are around 12 times likelier to

cause death than assaults without guns.” Id. at 5-6 (citing Aaron J. Kivisto & Megan

Porter, Firearm Use Increases Risk of Multiple Victims in Domestic Homicides, 48 J.

AM. ACAD. PSYCHIATRY L. 26, 26 (2020); Anthony A. Braga et al., Firearm

Instrumentality: Do Guns Make Violent Situations More Lethal?, 2021 ANN. REV.

CRIMINOLOGY 147, 153 (2021)).

       The Government avers that, for a misdemeanor crime of domestic violence to

qualify as a predicate conviction under § 922(g)(9), the statute requires the defendant

to have been “represented by counsel in the case or knowingly and intelligently

waived the right to counsel,” and, if there was a right to jury trial on the crime

charged, the conviction must have resulted from a jury trial unless the person

knowingly and intelligently waived that right.         Id. at 6 (citing 18 U.S.C. §

921(a)(33)(B)(i)(I-II)).   Further, if a defendant has a single domestic violence

misdemeanor conviction, “the prohibition on firearm possession lasts 5 years from the

later of the judgment of conviction or the completion of the sentence,” though this

restoration of rights is not available if the person was a spouse, parent, or guardian

of the victim or shares a child with the victim. Id. (citing 18 U.S.C. § 921(a)(33)(C)).

However, rights of firearm possession may be restored for such persons if the

conviction is expunged or set aside, or if the person has been pardoned. Id. (citing 18

U.S.C. § 921(a)(33)(C)).



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      After reviewing recent Supreme Court jurisprudence on Second Amendment

claims, id. at 7-9, the Government avers only one federal circuit court has considered

§ 922(g)(9) under the framework prescribed by the Supreme Court in Bruen. Id. at

10 (citing United States v. Gailes, 118 F.4th 822 (6th Cir. 2024)). In Gailes, the

Government says, the Sixth Circuit upheld the constitutionality of the statute based

on its conclusion that “people who were previously convicted of a domestic-violence

misdemeanor fall squarely within the category of people who pose a clear threat to

the physical safety of others.” Id. (quoting Gailes, 118 F.4th at 830 (in turn citing

Rahimi, 602 U.S. at 697-99 (citation amended))). The Government also collects post-

Rahimi decisions from federal district courts which have upheld the constitutionality

of § 922(g)(9). Id. at 11-12 (citing United States v. Denis, No. 6:24-CR-03099-BCW-1,

2025 U.S. Dist. LEXIS 16289 (W.D. Mo. Jan. 28, 2025) (citation amended); United

States v. Kaiser, No. 1:22-CR-647, 2024 U.S. Dist. LEXIS 174017 (N.D. Ohio Sept. 26,

2024) (citation amended); United States v. Navarro, No. 5:22-cr-00063-JWH, 2024

U.S. Dist. LEXIS 122174 (C.D. Cal. July 11, 2024) (citation amended)).

      The Government further directs the Court to the First Circuit’s pre-Rahimi

analysis of § 922(g)(9) in United States v. Booker, 644 F.3d 12, which the Government

asserts remains instructive despite the intervening Bruen decision. Id. at 12. In

Booker, the First Circuit noted that § 922(g)(9) covers “only those with a record of

violent crime, which is arguably more consistent with the historical regulation of

firearms than § 922(g)(1), which extends to violent and nonviolent offenders alike.”

Id. (quoting Booker, 644 F.3d at 24-25). The Government also observes that this



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District has previously considered the constitutionality of § 922(g)(9) post-Bruen but

pre-Rahimi, holding in 2024 that “our Nation has a historical tradition of restricting

persons considered to be untrustworthy or dangerous, including persons convicted of

violent offenses, such as an assault, from possessing firearms—a tradition analogous

enough with the ‘how’ and ‘why’ of the firearms restriction in section 922(g)(9) for it

to pass constitutional muster.” Id. at 12-13 (citing Minor, 2024 U.S. Dist. LEXIS

40665, at *9-10).

      The Government next contends that there is a longstanding domestic tradition

of disarming those who present a physical threat to others or a particular danger of

misusing firearms, which is a sufficient analogue to support the constitutionality of

§ 922(g)(9). Id. at 13. In support, the Government marshals a myriad of historic

examples of restrictions on firearm possession for persons perceived as dangerous or

a threat to the peace spanning from pre-Revolution English law, American colonial

history, the Constitution’s drafting and the accompanying state ratifying

conventions, antebellum developments, and Reconstruction. Id. at 14-23. As the

Supreme Court did in Rahimi, the Government emphasizes historic surety and “going

armed” laws as “designed to protect those who faced a threat of harm.” Id. at 17, 23-

24 (citing Rahimi, 602 U.S. at 681-82). Based on this evidence, the Government

submits, § 922(g)(9) “fits comfortably within the Nation’s tradition of disarming those

who present a threat to others, or who present a special danger of misuse.” Id. at 23.

      The Government avers that, in Rahimi, the Supreme Court upheld §

922(g)(8)(C)(i) as sufficiently similar to historic firearm regulations and urges the



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Court to draw a comparison to § 922(g)(9)’s restriction as “restrict[ing] gun possession

and use to mitigate ‘demonstrated threats’ of physical violence to a family or

household member.” Id. at 23-24 (citing Rahimi, 602 U.S. at 682). Both statutes, the

Government says, require “robust determinations of whether the defendant likely

would threaten or had threatened another person.” Id. at 24. The restriction under

§ 922(g)(8) would include, for example, a restraining order issued under 19-A M.R.S.

§ 4109(1), which requires a plaintiff to “prove the allegation or conduct . . . by a

preponderance of the evidence. Id.

      The Government juxtaposes this with § 922(g)(9), which requires a conviction

where the misdemeanant “‘was represented by counsel in the case, or knowingly and

intelligently waived the right to counsel,’ and, if entitled to a jury trial, was either

found guilty by a jury or knowingly and intelligently waived the right to a jury trial.”

Id. at 24-25 (quoting 18 U.S.C. § 922(g)(9)).        The Government contends the

constitutional basis of § 922(g)(9) surpasses that of § 922(g)(8) because a domestic

violence conviction provides stronger evidence of a credible threat to another than the

“court order” contemplated by § 922(g)(8). Id. at 25 (citing Kaiser, 2024 U.S. Dist.

LEXIS 174017, at *9; Navarro, 2024 U.S. Dist. LEXIS 122174, at *13). Further, to

count as a predicate for § 922(g)(9), the prior misdemeanor conviction must include

“as an element, the use or attempted use of physical force, or the threatened use of a

deadly weapon,” which, the Government says, reflects Congress’s inference that the

misdemeanant poses a danger to others. Id. (citing 18 U.S.C. § 921(a)(33)(A)(ii)).




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      In a footnote, the Government also points out that the First Circuit expressed

its doubts as to the propriety of an as-applied Second Amendment challenge in United

States v. Booker, 644 F.3d 12, noting that the Supreme Court wrote in Heller that

“statutory prohibitions on the possession of weapons by some persons are proper.

That is, the Second Amendment permits categorical regulation of gun possession by

classes of persons—e.g., felons and the mentally ill . . .—rather than requiring that

restrictions on the right be imposed only on an individualized, case-by-case basis.”

Id. at 24 n.22 (quoting Booker, 644 F.3d at 23 (internal citations and quotation marks

omitted); see also United States v. Torres-Rosario, 658 F.3d 110, 113 (1st Cir. 2011)

(holding a fact-specific approach to Second Amendment challenges “would obviously

present serious problems of administration, consistency and fair warning”)).

      Returning to Mr. Renaud’s case, the Government characterizes the

Defendant’s as-applied challenge as predicated on his position that “he has had no

contact with the criminal justice system since September 2021 (when he completed a

certified batterers intervention program), and therefore he no longer poses a threat

of violence.” Id. at 25 (quoting Def.’s Mot. at 6-7). The Government responds, first,

“his prior domestic violence conviction is recent and thus he remains an active threat

to the physical safety of others,” and, second, the historical tradition of laws in the

United States has “historically permitted disarmament on evidence that there is

reasonable cause to fear a person will breach the peace.” Id. at 26.

      On the first point, the Government analogizes again to § 922(g)(8), averring a

restraining order under that section requires a judicial finding that the person



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“represents a credible threat to the physical safety of such intimate partner or child,”

id. (quoting 18 U.S.C. § 922(g)(8) (the Government’s emphasis)), while § 922(g)(9)

similarly reflects “the legislature’s reasoned assessment that a person convicted by a

court of a misdemeanor crime of domestic violence . . . poses enough of a threat to the

safety of others that he should generally not be allowed to possess a firearm.” Id. at

26-27. This threat is evidenced, the Government says, by the high recidivism rates

among domestic violence abusers, id. at 17 (citing United States v. Skoien, 614 F.3d

638, 644 (7th Cir. 2010) (en banc), and collecting statistics), and the risk to other

family members, bystanders, police officers, and the public. Id. at 27-28 (collecting

academic sources reporting data on the risks associated with domestic violence).

      On the second point, the Government concedes the indefinite prohibition on

firearm possession in § 922(g)(9) diverges from the temporary disarmament of its

historical forebears but nonetheless maintains the statute’s constitutionality on two

grounds: “[f]irst, Rahimi did not suggest that indefinite disarmament was

impermissible” and, to the contrary, supported Heller’s statement that the usually

permanent prohibitions on possession of firearms by felons are “presumptively

lawful.” Id. at 28 (quoting Rahimi, 602 U.S. at 682 (in turn quoting Heller, 554 U.S.

at 626)). Second, the Government submits, Rahimi does not require § 922(g)(9) to be

identical to historic regulations, but merely “‘analogous enough’ to [its] historical

precursors ‘to pass constitutional muster.’” Id. (quoting Rahimi, 602 U.S. at 682).

      For these reasons, the Government concludes § 922(g)(9) is constitutional as

applied to Mr. Renaud and the Court should accordingly deny his motion to dismiss.



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             3.     Ian Renaud’s Reply

      Mr. Renaud replies that the Government has failed to meet its burden of

establishing a “relevantly similar” historical analogue, contending that “it is not

enough for the Government to proffer an important interest that the law it advances

seeks to promote” because Bruen requires a showing of historical tradition of an

accepted and enduring restriction on the right to bear arms that is “relevantly

similar” to a law or regulation at the time of the Founding. Def.’s Reply at 1-2 (citing

Bruen, 597 U.S. at 30, 68; Rahimi, 602 U.S. at 692).

      Mr. Renaud submits the Government’s “generalized historical examples” focus

on individuals deemed to be dangerous by reason of threat of rebellion or insurrection,

including colonial restrictions on those disloyal to the British government and

Reconstruction-era restrictions on Black citizens. Id. at 3 (citing Gov’t’s Opp’n at 18,

22). Another example cited by the Government, Mr. Renaud points out, of “the

enshrinement of the rights of Protestants to keep and bear arms in the English Bill

of Rights,” was “a reaction to perceived abuse of disarmament by English officials as

a tool of political repression in the preceding era,” evidencing the movement at the

time of the Founding to constrain the government’s power to disarm. Id. at 3-4 (citing

Rahimi, 602 U.S. at 694, 754). Mr. Renaud recites Justice Thomas’s dissent in

Rahimi, which stated “laws targeting ‘dangerous’ persons led to the Second

Amendment. It would be passing strange to permit the Government to resurrect

those selfsame ‘dangerous’ person laws to chip away at that Amendment’s




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guarantee.” Id. at 4 (quoting Rahimi, 502 U.S. at 754 (Thomas, J., dissenting)

(citation corrected)).

       Furthermore, Mr. Renaud contests the Government’s use of rejected

constitutional language and antebellum commentaries to interpret the Second

Amendment. Id. at 4-5 (citing Gov’t’s Opp’n at 18-23). He points out that proposed

constitutional language was considered and rejected in favor of “more broad and

inclusive language,” and cites caselaw discouraging the use of non-adopted legislative

language as the basis for statutory interpretation. Id. at 5 (citing Daniels, 77 F.4th

337, 352 (5th Cir. 2023) (in turn citing Skoien, 614 F.3d at 648); Heller, 554 U.S. at

590; Minor, 2024 U.S. Dist. LEXIS 40665, at *10 n.7 (citation amended)). Similarly,

Mr. Renaud contends post-Founding scholarship amounts to secondary sources that

do not evidence a historical tradition and is thus irrelevant. Id. In the alternative,

if the Court considers these sources relevant, Mr. Renaud argues the restrictions on

firearm possession to only “responsible” or “peaceable” citizens is inconsistent with

the holding of Rahimi that an individual cannot be disarmed for being found to be

not “responsible.” Id. (citing Rahimi, 602 U.S. at 701-02).

       Mr. Renaud further argues the Government’s historical analogues of surety

and “going armed” laws did not pose a burden analogous to § 922(g)(9). Directing this

Court to the Supreme Court’s discussion of such laws in Rahimi, he explains “surety

laws were invoked to prevent all forms of violence, including interpersonal violence

and also targeted misuse of firearms . . .. [and] ‘going armed’ laws prohibited ‘riding




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or going armed, with dangerous or unusual weapons to terrify the good people of the

land.’” Id. at 6 (quoting Rahimi, 602 U.S. at 695).

      Mr. Renaud concedes “[l]ike § 922(g)(9), the historical justification for such

laws w[as] to prevent interpersonal violence following a determination that the

individual posed a credible threat to the safety of another,” but emphasizes that while

surety laws “permitted temporary disarmament following an individualized

determination by a magistrate, bonds could be required for no longer than six months

at a time” and “an individual could obtain an exception where a firearm was needed

for self-defense or another legitimate reason.” Id. (citing Rahimi, 602 U.S. at 695).

Mr. Renaud distinguishes these penalties from § 922(g)(9)’s “lifetime ban of

possession of any firearm for any purpose.” Id. He similarly juxtaposes “going

armed” laws, insisting that such laws merely “permitted forfeiture of arms and

temporary disarmament during a period of incarceration,” a far cry from § 922(g)(9)

which makes it a felony offense for him to acquire or constructively possess any

firearm indefinitely. Id.

      Finally, Mr. Renaud argues the Government has failed to establish that its

prosecution is constitutional as applied to him by contesting the Government’s

assertions that he remains “an active threat to the physical safety of others.” Id. at

7 (quoting Gov’t’s Opp’n at 26). He rejects as unsupported the Government’s claim

that a five-year-old misdemeanor conviction conclusively demonstrates the

misdemeanant poses a continuing threat and points out the Government makes no

attempt to define its use of the term “recent.” Id. Further, Mr. Renaud argues the



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Government has not defined the category it describes as a threat to “breach the

peace,” id. (quoting Gov’t’s Opp’n at 26), and that the Supreme Court held in Rahimi

that Second Amendment rights “cannot be infringed based on vague, ill-defined

categories that lack legal grounding.” Id. (citing Rahimi, 602 U.S. at 701-702).

       Mr. Renaud states that while disarmament “during his period of incarceration,

term of supervision, or while subject to a restraining order” may have been consistent

with the Second Amendment, he has now completed his criminal justice sentence and

there is no basis nor judicial determination that he continues to pose a credible threat

of violence to another. Id. Thus, he concludes, the Court should grant his motion to

dismiss the indictment. Id.

       B.     Legal Standard on Motion to Dismiss Criminal Complaint

       Federal Rule of Criminal Procedure 12(b)(1) provides that “[a] party may raise

by pretrial motion any defense, objection, or request that the court can determine

without a trial on the merits.” FED. R. CRIM. P. 12(b)(1). One such motion, relevant

here, is a motion to dismiss. “An indictment, or a portion thereof, may be dismissed

if it is otherwise defective or subject to a defense that may be decided solely on issues

of law.” United States v. Pringle, No. 22-10157-FDS, 2023 U.S. Dist. LEXIS 193924,

at *2 (D. Mass. Oct. 30, 2023). For example, “[a] defendant may seek the dismissal

of an indictment on the grounds that the statute authorizing the charges is

unconstitutional.” United States v. Fulcar, No. 23-cr-10053-DJC, 2023 U.S. Dist.

LEXIS 192908, at *1 (D. Mass. Oct. 27, 2023) (citing United States v. Carter, 752 F.3d

8, 12 (1st Cir. 2014)).



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      A challenge to the constitutionality of a statute may be facial or as-applied. To

succeed on a facial challenge, the moving party must demonstrate “that the statute

lacks any ‘plainly legitimate sweep.’” Hightower v. City of Bos., 693 F.3d 61, 77-78

(1st Cir. 2012) (quoting United States v. Stevens, 559 U.S. 460, 472 (2010)). To

succeed on an as-applied challenge, the defendant must show that the statute is

unconstitutional as applied to the circumstances of his case. See id. at 71-72.

      The First Circuit has held that, on either a facial or as-applied challenge,

“dismissing an indictment is an extraordinary step,” United States v. Li, 206 F.3d 56,

62 (1st Cir. 2000) (quoting United States v. Stokes, 124 F.3d 39, 44 (1st Cir. 1997)),

because, by returning an indictment, a grand jury is carrying out a constitutionally

sanctioned function. See U.S. CONST. amend. V (“No person shall be held to answer

for a capital, or otherwise infamous crime, unless on a presentment or indictment of

a Grand Jury . . ..”). “When a federal court uses its supervisory power to dismiss an

indictment, it directly encroaches upon the fundamental role of the grand jury. That

power is appropriately reserved, therefore, for extremely limited circumstances.”

Whitehouse, 53 F.3d at 1360 (citing Bank of Nova Scotia v. United States, 487 U.S.

250, 263 (1988)).

      C.     DISCUSSION

      Mr. Renaud moves the Court to dismiss his indictment on the ground that 18

U.S.C. § 922(g)(9) is unconstitutional as applied to him because it violates his Second

Amendment right to bear arms.        The basis of his challenge is that permanent

disarmament based on a misdemeanor conviction of domestic violence is



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constitutionally impermissible, at least in his case, because it impedes upon his right

to bear arms without evidence of a present threat to another, a restriction allegedly

uncontemplated by the Founders. Based on both relevant First Circuit precedent and

this Court’s application of the Bruen test to his case, the Court concludes Mr.

Renaud’s argument is unavailing.

             1.     Relevant Precedent

      Mr. Renaud submits Bruen “explicitly rejected the use of ‘means-end scrutiny’

previously employed by lower courts” and thus argues his case exclusively under the

two-step test contemplated by Bruen without reference to prior First Circuit or

District of Maine caselaw. Def.’s Mot. at 3. As an initial matter, Mr. Renaud’s

position is inconsistent with First Circuit law. “Until a court of appeals revokes a

binding precedent, a district court within the circuit is hard put to ignore that

precedent unless it has unmistakably been cast into disrepute by supervening

authority.” Eulitt v. Me. Dep’t of Educ., 386 F.3d 344, 349 (1st Cir. 2004), abrogated

on other grounds by Carson v. Makin, 596 U.S. 767 (2022). The Court thus considers

caselaw from the First Circuit and District of Maine regarding the constitutionality

of § 922(g)(9) and examines whether it has been explicitly revoked or unmistakenly

undermined by the Supreme Court’s decisions in Bruen and Rahimi.

      The First Circuit heard a constitutional challenge to § 922(g)(9) in United

States v. Booker, 644 F.3d 12, and upheld that statute’s constitutionality under the

formerly applied “means-end scrutiny” test. Id. at 22-26. In its analysis, the First

Circuit determined “Section 922(g)(9) is, historically and practically, a corollary



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outgrowth of the federal felon disqualification statute. Moreover, in covering only

those with a record of violent crime, § 922(g)(9) is arguably more consistent with the

historical regulation of firearms than § 922(g)(1), which extends to violent and

nonviolent offenders alike.” Id. at 24-25. The First Circuit continued to explain that

“actual ‘longstanding’ precedent in America and pre-Founding England suggests that

a firearms disability can be consistent with the Second Amendment to the extent that

. . . its basis credibly indicates a present danger that one will misuse arms against

others and the disability redresses that danger.”      Id. at 25 (quoting C. Kevin

Marshall, Why Can’t Martha Stewart Have a Gun?, 32 HARV. J. L. & PUB. POL’Y 695,

698 (2009)). The First Circuit thus upheld the constitutionality of § 922(g)(9) as

“limited to violent crimes.” Id. (quoting Skoien, 614 F.3d at 641). The Supreme Court

subsequently denied Mr. Booker’s petition for certiorari on the question. Booker v.

United States, 565 U.S. 1204 (2012). Notably, the Supreme Court did confront the

legality of § 922(g)(9) after Booker in Voisine v. United States, 579 U.S. 686 (2016),

and the majority upheld the statute without implicating its constitutionality.

Compare id. at 688-99, with id. at 713-16 (Thomas, J., dissenting) (“Today the

majority expands § 922(g)(9)’s sweep into patently unconstitutional territory”).

      Absent the First Circuit overruling Booker, the Court must follow that decision

“unless it has unmistakably been cast into disrepute by supervening authority.”

Eulitt v. Me. Dep’t of Educ., 386 F.3d at 349. Mr. Renaud suggests Bruen has such

an effect because it “explicitly rejected the use of ‘means-end scrutiny’ previously

employed by lower courts.” Def.’s Mot. at 3. While Mr. Renaud correctly describes



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the new two-step analysis created by Bruen, he fails to offer any argument as to how

Bruen undermines the holdings of Booker, nor does he point the Court to any First

Circuit case that explicitly revokes the binding precedent in Booker.

      By the Court’s reckoning, the First Circuit’s conclusions in Booker, which it

based on “the historical regulation of firearms,” are consistent with Bruen and

Rahimi. In Bruen, the Supreme Court reviewed a law from the state of New York

that restricted public carry licenses to applicants who can prove “proper cause exists.”

Bruen, 597 U.S. at 12. After parsing, in granular detail, the historical tradition of

firearm regulation in this country, the Bruen Court concluded that “respondents

ha[d] not met their burden to identify an American tradition justifying the State’s

proper-cause requirement” and held New York’s law unconstitutional under the

Second Amendment, as applied to the States through the Fourteenth Amendment.

Id. at 70-71. Several years later, in Rahimi, the Supreme Court applied its historical

tradition test to § 922(g)(8), a statute which “prohibits an individual subject to a

domestic violence restraining order from possessing a firearm if that order includes

a finding that he ‘represents a credible threat to the physical safety of [an] intimate

partner,’ or a child of the partner or individual.” Rahimi, 602 U.S. at 684 (quoting 18

U. S. C. § 922(g)(8)). After examining the historical tradition of firearm restrictions,

the Rahimi Court stated: “we conclude only this: An individual found by a court to

pose a credible threat to the physical safety of another may be temporarily disarmed

consistent with the Second Amendment.” Id. at 702. In the same paragraph, the




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Rahimi Court specifically limited its decision to § 922(g)(8) and disclaimed that its

decision contemplated “the full scope of the Second Amendment.” Id.

      On the Court’s read, neither Bruen nor Rahimi “unmistakably . . . cast[s] into

disrepute” the First Circuit’s holding in Booker upholding the constitutionality of §

922(g)(9) based on “‘longstanding’ precedent in America and pre-Founding England”

permitting restriction of firearm possession where “its basis credibly indicates a

present danger that one will misuse arms against others.” Eulitt, 386 F.3d at 349;

Booker, 565 U.S. at 25. As Mr. Renaud has presented no evidence to the contrary,

and the Court is independently aware of none, Booker remains controlling law within

the First Circuit and on this Court. Cf. United States v. Fulcar, 2023 U.S. Dist. LEXIS

192908, at *15 (rejecting a post-Bruen challenge to the constitutionality of 18 U.S.C.

§ 922(g)(1) because “controlling First Circuit precedent forecloses [the defendant’s]

as-applied challenge,” noting that Bruen considered a different statute than the

statute at issue, which had been squarely considered by the First Circuit, that it did

not overrule the prior assurances from Heller and McDonald that the Second

Amendment is a qualified right, and that other district courts within the First Circuit

had concluded the First Circuit’s decision remained controlling precedent after

Bruen) (citing Torres-Rosario, 658 F.3d at 113).

             Following the directive of the First Circuit in Booker, the Court thus

concludes Mr. Renaud’s motion to dismiss the indictment based on the

unconstitutionality of § 922(g)(9) should be denied based on the precedent of this

District and could end its analysis here. However, because prior post-Bruen decisions



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from this District have applied the Bruen framework without reference to Booker, see

Minor, 2024 U.S. Dist. LEXIS 40665, and because it does not change the outcome

here, the Court proceeds to consider the constitutionality of § 922(g)(9) under the

framework articulated by the Supreme Court in Bruen.

             2.     18 U.S.C. § 922(g)(9) As-Applied to Mr. Renaud

                    a.    The Bruen Test for Second Amendment Challenges

      As noted, the Bruen Court overruled the formerly applied “means-end-

scrutiny” framework and implemented a different two-step test to resolve Second

Amendment questions. Bruen, 597 U.S. at 24. Following Bruen, courts must consider

whether “the Second Amendment’s plain text covers an individual’s conduct.” Id.;

accord Gailes, 118 F.4th at 825. If the answer to this first question is yes, the Bruen

Court deemed the conduct presumptively constitutional and placed the burden on the

government to “justify its regulation by demonstrating that it is consistent with the

Nation’s historical tradition of firearm regulation.” Bruen, 597 U.S. at 24; accord

Gailes, 118 F.4th at 825. To be constitutional, the challenged law need not be “a dead

ringer for historical precursors” or have “a historical twin,” Bruen, 597 U.S. at 30;

rather, courts “must train [their] attention on two comparisons: ‘how and why the

regulations burden a law-abiding citizen’s right to armed self-defense.’” Ocean State

Tactical, LLC v. Rhode Island, 95 F.4th 38, 44 (1st Cir. 2024) (quoting Bruen, 597

U.S. at 29). As explained by the First Circuit, “we consider the ‘how,’ comparing the

‘burden on the right of armed self-defense’ imposed by the new regulation to the

burden imposed by historical regulations” and “the ‘why,’ comparing the justification



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for the modern regulation to the justification for historical regulations.” Id. at 44-45

(quoting Bruen, 597 U.S. at 29).

      In this case, the Government “concedes that the plain text of the Second

Amendment covers Renaud’s conduct (i.e. possession of firearms).” Gov’t’s Opp’n at

8 n.7. The Court thus proceeds to the second step of the Bruen test and compares the

historical tradition of firearm regulation in this country to the “why” and “how” of §

922(g)(9) as applied to Mr. Renaud.

      Notably, however, the Court’s analysis of the historic tradition of firearm

regulation does not start from square one. The Supreme Court applied the Bruen test

to restrictions on firearms based on criminal history in Rahimi, relying on surety

laws and “going armed” laws, the two types of historic disarmament regimes cited by

the Government here, to conclude that “[t]aken together, the surety and going armed

laws confirm what common sense suggests: When an individual poses a clear threat

of physical violence to another, the threatening individual may be disarmed.”

Rahimi, 602 U.S. at 698. The Court thus views the question before it in this case as

narrow: whether the Government has demonstrated § 922(g)(9) similarly disarms

individuals who “pose a clear threat of physical violence to another.” Id.

                    b.     The “Why” – Threat to Another’s Safety Posed by Mr.
                           Renaud

      Bruen described the relevant “why” inquiry as determining whether a modern

law’s burden on a constitutional right is “comparably justified” as historical carveouts

to that right. Bruen, 597 U.S. at 29. As explained, the Supreme Court has recognized




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Congress’s right to restrict access to firearms for those who “pose a clear threat of

physical violence to another,” and the Court’s analysis begins from this starting point.

      Under plain statutory language, § 922(g)(9) criminalizes firearm possession for

any person “who has been convicted in any court of a misdemeanor crime of domestic

violence” if the relevant misdemeanor conviction, among other things, “has, as an

element, the use or attempted use of physical force, or the threatened use of a deadly

weapon,” against a person with whom the defendant has a domestic relationship. 18

U.S.C. §§ 921(a)(33), 922(g)(9). Mr. Renaud seeks to distinguish § 922(g)(9) from §

922(g)(8), the constitutionality of which was upheld in Rahimi, on the basis that §

922(g)(8) requires the disarmed person be subject to a court order “a finding that such

person represents a credible threat to the physical safety of such intimate partner or

child” or “explicitly prohibits the use, attempted use, or threatened use of physical

force against such intimate partner or child that would reasonably be expected to

cause bodily injury.” 18 U.S.C. § 922(g)(8). Mr. Renaud maintains that § 922(g)(9)

requires no such finding and thus “strips individuals of their Second Amendment

rights even if any credible threat of physical violence has long since passed.” Def.’s

Mot. at 7.

      This Court disagrees. A misdemeanor domestic violence conviction, subject to

the additional statutory protections of legal representation and right to trial by jury,

constitutes unequivocally credible evidence of a threat posed by the misdemeanant to

the safety of another.     Beginning with the legislative history of § 922(g)(9),

contemporaneous statements by the statute’s enactors reflect their desire to stem the



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tide of domestic violence incidents involving firearms. See Lautenberg Statement

(explaining “Congress recognized a problem of significant national concern in the

combination of domestic violence and guns, and saw the existing law as insufficiently

protective of its victims” by only disarming felons, and sought to “close this dangerous

loophole” through § 922(g)(9)). On this Court’s reading of the contemporaneous

legislative history, Congress thus deemed a conviction for using or attempting to use

physical force, or the threatened use of a deadly weapon, indicated a clear and

apparent risk to the safety others.

      The reason for this legislative conclusion is self-evident based on robust and

troubling statistics showing the combination of domestic violence offenders and

access to firearms results in escalating violence. See, e.g., Kivisto et al., Firearm Use

Increases Risk of Multiple Victims in Domestic Homicides, at 26 (presence of a firearm

in a household with a domestic abuser increases the risk of homicide by five times);

Braga et al., Firearm Instrumentality: Do Guns Make Violent Situations More

Lethal?, at 5 (domestic violence assaults with firearms are twelve times more likely

to cause death than assaults without guns). Such effects are felt not only by the

household but broader society. See, e.g., Sharon G. Smith et al., Intimate Partner

Homicide and Corollary Victims in 16 States: National Violent Death Reporting

System, 2003–2009, 104 AM. J. PUB. HEALTH 461, 463-64 (Mar. 2014) (in

approximately 25% of domestic violence cases where the abuser killed an intimate

partner, the abuser also killed someone else); Nick Bruel & Mike Keith, Deadly Calls

and Fatal Encounters: Analysis of U.S. law enforcement line of duty deaths when



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officers responded to dispatched calls for service and conducted enforcement, 2010-

2014, at 15 (2016) (finding more officer deaths occurred in responding to domestic

disputes that any other type of call).

      What is more, the particularly high recidivism rates for domestic abusers

evidence an ongoing and present threat. Based on interviews with victims, the re-

offense rate has been calculated as between 40% and 80%. Carla Smith Stover,

Domestic Violence Research, 20 J. INTERPERSONAL VIOLENCE 448, 450 (2005). Many

courts, including the Supreme Court, have recognized this high recidivism rate as

evidence of present danger. See, e.g., United States v. Castleman, 572 U.S. 157, 160

(2014) (“Domestic violence often escalates in severity over time . . . and the presence

of a firearm increases the likelihood that it will escalate to homicide”) (internal

citations omitted); Gailes, 118 F.4th at 829 (holding “someone who posed a risk in the

past does not mean they no longer do so. Scholars agree that . . . the recidivism rate

for domestic-violence offenders is high); Skoien, 614 F.3d at 644 (noting “the

recidivism rate is high, implying that there are substantial benefits in keeping the

most deadly weapons out of the hands of domestic abusers” and concluding “[n]o

matter how you slice these numbers, people convicted of domestic violence remain

dangerous to their spouses and partners”).

      Mr. Renaud apparently takes the position that modern justifications for §

922(g)(9) fail because, at the time of the Founding, domestic violence was not

considered a serious crime that posed a threat to the safety of others. However, this

argument ignores Justice Roberts’s robust analysis in Rahimi, which described



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Founding-era regulatory regimes for punishing those accused of spousal abuse. See

Rahimi. 602 U.S. at 693-98. For example, surety laws, which were incorporated from

England into early American law, “authorized magistrates to require individuals

suspected of future misbehavior to post a bond. If an individual failed to post a bond,

he would be jailed.” Id., 602 U.S. at 695 (citing, e.g., 4 Blackstone 251). Surety laws

“could be invoked to prevent all forms of violence, including spousal abuse” and “also

targeted the misuse of firearms.” Id. at 695-96 (citing, e.g., 4 Blackstone 253-54). “As

Blackstone explained, ‘[w]ives [could] demand [sureties] against their husbands; or

husbands, if necessary, against their wives.’ These often took the form of a surety of

the peace, meaning that the defendant pledged to ‘keep the peace.’” Id. at 695

(quoting 4 Blackstone 252-54).

      In Rahimi, Justice Roberts specifically relays an infamous 1790 case in

Connecticut brought by a wife against her husband, himself a judge, in which the

court “ultimately ordered the man to post a bond of £1,000.” Id. at 696 (citing K.

Ryan, “The Spirit of Contradiction”: Wife Abuse in New England, 1780-1820, 13 Early

American Studies 586, 602-03 (2015)). Thus, at the time of the Founding, spousal

abuse was recognized as a crime that warranted intervention and, if necessary to

preserve the peace, deprivation of liberty. See also Kanter v. Barr, 919 F.3d 437, 453,

464 (7th Cir. 2019), abrogated by Bruen, 597 U.S. 1 (Barrett J., dissenting) (“History

does not support the proposition that felons lose their Second Amendment rights

solely because of their status as felons[, b]ut it does support the proposition that the




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state can take the right to bear arms away from a category of people that it deems

dangerous,” including, “for example, those convicted of crimes of domestic violence”).

      For the reasons described in caselaw both from the Supreme Court and the

First Circuit, Congress reasonably identified a continuing threat of physical violence

based on a conviction for misdemeanor domestic violence and enacted § 922(g)(9) to

restrict access to firearms on that basis. See, e.g., Booker, 644 F. 3d at 16. While §

922(g)(9) is admittedly distinguishable from regulatory regimes in place at the

Founding for perceived threats to the safety of others, as described in detail by the

Supreme Court in Bruen, 597 U.S. at 40-70, and Rahimi, 602 U.S. at 693-700,

Supreme Court jurisprudence is nevertheless clear that, to be constitutional, a

modern statute need not be “a dead ringer for historical precursors” or have “a

historical twin.” Bruen, 597 U.S. at 30. Rather, the modern law must be only

“relevantly similar.” Id. at 29.

      Especially relevant here is the Supreme Court’s admonition that “the Second

Amendment is not . . . a law trapped in amber,” and that “[i]t permits more than just

those regulations identical to ones that could be found in 1791.” Rahimi, 602 U.S. at

741 (internal quotation marks omitted). In Rahimi, the Supreme Court clarified that

the modern conception of what is needed to protect domestic partners, especially

women, from domestic violence through use of firearms need not be entirely

abrogated by an eighteenth-century view of society and the rights of women. See id.

at 706 (“History has a role to play in Second Amendment analysis, but a rigid

adherence to history, (particularly history predating the inclusion of women and



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people of color as full members of the polity), impoverishes constitutional

interpretation and hamstrings our democracy”). The question is thus not strictly

what legal regimes were in place at the time of the Founding, but, rather, if the

challenged regulation “is ‘relevantly similar’ to laws that our tradition is understood

to permit, ‘apply[ing] faithfully the balance struck by the founding generation to

modern circumstances.’” Id. (quoting Bruen, 597 U.S. at 29 & n.7).

      In the Court’s view, the Government has satisfied its burden here by

demonstrating that, § 922(g)(9) addresses threats to the safety of others, specifically

domestic partners, in line with the historical tradition of firearm regulation. See

Rahimi, 602 U.S. at 698 (“[the challenged law’s] prohibition on the possession of

firearms by those found by a court to present a threat to others fits neatly within the

tradition the surety and going armed laws represent”); accord Minor, 2024 U.S. Dist.

LEXIS 40665, at *9-10 (“the Government has met its burden to show that our Nation

has a historical tradition of restricting persons considered to be untrustworthy or

dangerous, including persons convicted of violent offenses, such as an assault, from

possessing firearms”).

      Finally, because Mr. Renaud brings an as-applied challenge, the Court

examines whether the factual evidence in the record demonstrates the restriction on

his individual right to bear arms comports with historic tradition. Several aspects of

the Defendant’s case demonstrate why he presents a threat to the safety of others,

such that his disarmament is “comparably justified.” Bruen, 597 U.S. at 29. First,

while Mr. Renaud asserts he poses no credible threat because his misdemeanor



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conviction was from 2019, this argument belies the extent of his relevant criminal

record. True, his most recent misdemeanor conviction was from 2019, but this was

neither his first domestic offense nor his last. Mr. Renaud previously pleaded guilty

in 2014 to domestic violence criminal threatening and criminal restraint, Gov’t’s Ex.

3; Gov’t’s Ex. 4. Approximately five years later—which, notably, is approximately the

same duration as the time between completion of probation on the 2019 misdemeanor

and the current charge—he committed the assault giving rise to the 2019 offense.

Furthermore, only six months after pleading guilty to the 2019 misdemeanor offense,

Mr. Renaud violated the protective order from his 2014 domestic offense and was

sentenced to imprisonment in June 2020. Gov’t’s Ex. 5; Gov’t’s Ex. 4 at 1. Multiple

convictions for domestic offenses, as well as violations of protective court orders, leads

the Court to conclude the Government has demonstrated the credible threat to the

safety of another posed by Mr. Renaud. As explained, this restriction on his right to

bear arms aligns with the domestic tradition of firearm regulation, and thus does not

contravene the Second Amendment.

      Moreover, the facts underlying Mr. Renaud’s history of domestic violence

confirm that he has a record of threatened and actual domestic violence, going back

over twenty years and continuing recently. In 2003, Mr. Renaud threatened his ex-

girlfriend after a restraining order had been imposed against him, saying that he was

coming to her city and would “gut” her and another person “like a fish.” Gov’t Ex. 6.

      On May 11, 2014, according to the police report, during an argument with his

girlfriend, Mr. Renaud held a “billy club with spikes” over her head and then struck



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it on the top of a dresser, embedding it in the wood. Gov’t Ex. 3 at 6. His girlfriend

reported to the police that she thought he was going to kill her during the incident

and that he further threatened violence against any police officers who should

respond. Id. According to Mr. Renaud’s criminal record, he was found guilty of

domestic violence terrorizing on July 1, 2014 but his sentence was deferred for three

years and the charge was dismissed on July 5, 2017 upon his successful completion

of the deferred disposition. Gov’t Ex. 4 at 2.

      On August 24, 2018, according to the police report, Mr. Renaud and his wife

were arguing when Mr. Renaud shoved her with both hands several times, pushing

his wife backward into a kitchen counter and yelling in her face. Gov’t’s Ex. 1 at 12,

15. The police found that Mr. Renaud had three long rifles, multiple crossbows, and

many large hunting knives at his home. Id. at 3-11. On August 29, 2018, Mr. Renaud

was charged with domestic violence assault, Gov’t Ex. 2 at 6, and a criminal complaint

was filed against him on September 12, 2018. Id. at 1, 6. Mr. Renaud entered a guilty

plea to domestic violence assault on May 20, 2019, id. at 9, and was sentenced to 364

days in county jail and two years of probation. Id.

      The docket entries in Mr. Renaud’s 2019 domestic violence assault conviction

reflect that he admitted violating the terms of his probation on July 9, 2019 and he

was sentenced on the revocation on July 12, 2019, that he admitted a second violation

on January 7, 2020 and he was sentenced on January 7, 2020 to three months of

incarceration with continued probation. Id. at 10-15. The docket does not reveal the

nature of the conduct that resulted in these revocations.



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       In addition, Mr. Renaud’s criminal history confirms that on November 3, 2019,

he was charged with violating a protective order and was found guilty on June 29,

2020. Gov’t’s Ex. 4 at 1. He was sentenced to 100 days on June 29, 2020. Id. The

events that have given rise to the indictment now pending in Mr. Renaud’s indictment

allegedly took place on October 15, 2024. Indictment at 1.

       Finally, the alleged facts underlying the pending indictment further evidence

the nature of the threat posed by Mr. Renaud. The affidavit in support of a criminal

complaint of Christopher Concannon, Special Agent with the Bureau of Alcohol,

Tobacco, and Firearms (ATF), as attached to the criminal complaint, reflects Mr.

Renaud was found in possession of fourteen firearms. Crim. Compl., Attach. 1, Aff. in

Support of a Crim. Compl. (Concannon Aff.). Eleven firearms were found in the

bedroom where Mr. Renaud and his wife slept. Id. at 1-2. Mr. Renaud had three AK-

style assault rifles, two on the living room floor, id. at 3, 4 & n.2, and six pistols or

revolvers. Id. Only one firearm, a Savage Arms hunting rifle, was in a safe. Id. at

3. This ubiquitous presence of so many readily accessible firearms, some especially

lethal, the Court concludes, is precisely the basis for § 922(g)(9)’s restriction. 2

       At bottom, a detailed review of Mr. Renaud’s criminal history compels the

Court to find that, as of October 15, 2024, he “pose[d] a clear threat of physical

violence to another,” based on his criminal history of domestic violence, his actions

leading to his criminal history, his record of violations of protective orders, his



2       There is no evidence in this record of his domestic partner’s attitude about Mr. Renaud’s
possession of so many firearms. However, she must have been aware of them because they were in
their bedroom and living room.

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documented probation revocations, and the danger, which is well recognized, that

when people who engage in domestic violence have access to firearms, there is a

substantial risk they will use them to perpetrate violence.

      Concluding the Government has established a constitutional basis for

restricting Mr. Renaud’s Second Amendment rights—the “why”—the Court turns to

consider the extent of the restriction.

                    c.     The “How” – Restrictive Burden on Mr. Renaud

      Bruen instructs courts to consider “whether modern and historical regulations

impose a comparable burden on the right of armed self-defense.” Bruen, 597 U.S. at

29.   While Mr. Renaud concedes temporary disarmament is constitutionally

permissible, he objects to “§ 922(g)(9)’s lifetime ban on possession of any firearm for

any purpose.” Def.’s Reply at 6-7.

       For several reasons, the prohibition is not so broad as Mr. Renaud describes.

First, the statute’s tiered structure contemplates escalating penalties for repeat

offenders. A defendant convicted of only one misdemeanor domestic violence offense

is only restricted from possessing a firearm for five years from the date of conviction

or completion of sentence. 18 U.S.C. § 921(a)(33)(C). This restriction is indeed

extended to life for repeat offenders; however, multiple convictions further validate

the determination of a credible threat to the safety of others, as described above, so

as to justify the ongoing restriction. It is true that the five-year limit for first-time

offenders does not include those who victimize their spouse or person with whom the

misdemeanant shares a child, id.; however, such relationships carry with them legal



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and practical reasons for continued contact, thereby justifying the ongoing

disarmament to protect the victim’s safety.

      Second, the statute expressly contemplates avenues for a domestic violence

misdemeanant to remove the restriction on the right to bear arms. Specifically, a

defendant does not qualify under § 922(g)(9) “if the conviction has been expunged or

set aside, or is an offense for which the person has been pardoned or has had firearm

rights restored.”   Id.   As applied to Mr. Renaud, he is subject to indefinite

disarmament based on his conviction for domestic violence against a spouse.

However, he has presented no evidence to suggest he has sought and been denied any

of the available recourses provided by statute.

      The Court’s conclusion further comports with Supreme Court jurisprudence.

In Rahimi, the Court reaffirmed its prior statement in Heller that restrictions on the

right to bear arms for certain groups, using the examples of “felons and the mentally

ill,” are “presumptively lawful.” Rahimi, 602 U.S. at 699 (quoting Heller, 554 U.S. at

626-27 & n.26). Such restrictions are similarly permanent, but majority decisions by

the Supreme Court have not expressed a concern regarding their temporal scope.

Instead, the extent of the restriction is considered commensurate to the identified

threat that such persons possessing firearms would pose to others. For the reasons

described above, including multiple prior domestic violence convictions, a markedly

high recidivism rate, and the magnified danger associated with domestic abusers

with access to guns, the safety risks posed by a repeat domestic violence

misdemeanant possessing a firearm are of similar degree to the risk posed by the



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classes of person for which the Supreme Court has permitted restriction of the right

to bear arms. See, e.g., Rahimi, 602 U.S. at 700 (“Our tradition of firearm regulation

allows the Government to disarm individuals who present a credible threat to the

physical safety of others”).

      The Court thus concludes the burden on Mr. Renaud’s Second Amendment

rights comports with the historical tradition of restricting the right to bear arms for

those deemed to pose a credible threat to the safety of others. The Court’s conclusion

is consistent with a district court decision in Maine by then Chief Judge Jon Levy.

See Minor, 2024 U.S. Dist. LEXIS 40665, at *9-10. In Minor, faced with a similar

challenge to the constitutionality of § 922(g)(9), Judge Levy concluded that the

“Government has met its burden to show that our Nation has a historical tradition of

restricting persons considered to be untrustworthy or dangerous, including persons

convicted of violent offenses, such as an assault, from possessing firearms—a

tradition analogous enough with the ‘how’ and ‘why’ of the firearms restriction in §

922(g)(9) for it to pass constitutional muster.” Id. It is further consistent with the

decisions of other district courts which have considered the constitutionality of §

922(g)(9) post-Bruen. See, e.g., Denis, 2025 U.S. Dist. LEXIS 16289; Kaiser, 2024 U.S.

Dist. LEXIS 174017; Navarro, 2024 U.S. Dist. LEXIS 122174.

             3.     Summary

      At bottom, the Court concludes that applicable First Circuit and District of

Maine precedent supports the constitutionality of § 922(g)(9).          Further, in the

alternative, the Government has satisfied its burden of establishing a historical



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tradition of restricting Second Amendment rights based on a credible threat posed to

the safety of others, that persons convicted of domestic violence misdemeanors within

the meaning of § 922(g)(9) presents comparable justification of such a credible threat

(the “why”), and that the burden on Mr. Renaud’s rights is comparable to the

historical tradition of such regulations (the “how”). Accord Minor, 2024 U.S. Dist.

LEXIS 40665, at *9-10.

      The Court thus denies Mr. Renaud’s motion to dismiss the indictment against

him based on his assertion that § 922(g)(9) violates the Constitution.

IV.   CONCLUSION

      The Court OVERRULES Ian Renaud’s Objection to Attached Exhibits to

Government’s Response in Opposition to Defendant’s Motion to Dismiss (ECF No. 51)

and, further, DENIES Ian Renaud’s Motion to Dismiss (ECF No. 33).

      SO ORDERED.

                                     /s/ John A. Woodcock, Jr.
                                     JOHN A. WOODCOCK, JR.
                                     UNITED STATES DISTRICT JUDGE

Dated this 30th day of April, 2025




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